Case 32EECSORIEPES, POSURE, FARE GAME? Page Zor

WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
USA §
§
VS. § No: EP:23-CR-00671(1)-DCG
§
(1) Lorena Moreno §
§

 

WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT
AND
ENTRY OF PLEA OF NOT GUILTY

COMES NOW Defendant in the above referenced case who, along with his undersigned attorney,
hereby acknowledges the following:

1) Defendant has received a copy of the indictment or information in this case. Defendant
understands the nature and substance of the charges contained therein, the maximum penalties
applicable thereto, and his/her Constitutional Rights, after being advised of all the above by his/her
attorney.

2) Defendant understands he/she has the right to appear personally with his/her attorney before a
Judge for arraignment in open Court on this accusation. Defendant further understands that,
absent the present waiver, he/she will be so arraigned in open Court.

Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
his/her attorney at the arraignment of this case and the reading of the indictment or information, and, by this

instrument, tenders his/her plea of “not guilty”. The defendant understands that the entry by the Court of said
plea for defendant will conclude the arraignment in this case for all purposes.

ae Abin Word

Defendant

Yee _ Revablr fle
ttorney for Defendant

ORDER

APPROVED by this Court. A plea of “Not Guilty” is entered for defendant effective this date.

Date:

 

United States Magistrate Judge
